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                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

 EVAN MILLIGAN, et al.,                  )
                                         )
       Plaintiffs,                       )
                                         )
 v.                                      )      Case No.: 2:21-cv-1530-AMM
                                         )
 WES ALLEN, in his official              )        THREE-JUDGE COURT
 capacity as Secretary of State of       )
 Alabama, et al.,                        )
                                         )
      Defendants.                        )

Before MARCUS, Circuit Judge, MANASCO and MOORER, District Judges.

BY THE COURT:
                                      ORDER

      This case is one of three congressional redistricting cases that have been

pending in the Northern District of Alabama since November 2021, and that have

returned to this Court after the Supreme Court of the United States affirmed in all

respects a preliminary injunction entered on January 24, 2022. This Court found that

Alabama’s 2021 congressional redistricting map likely violated Section Two of the

Voting Rights Act, Milligan Doc. 107, and that “the appropriate remedy is a

congressional redistricting plan that includes either an additional majority-Black

congressional district, or an additional district in which Black voters otherwise have

an opportunity to elect a representative of their choice.” Id. at 5; see also id. at 6

(“any remedial plan will need to include two districts in which Black voters either
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comprise a voting-age majority or something quite close to it.”); Singleton v. Allen,

Case No. 2:21-cv-1291 (N.D. Ala.), ECF No. 88; Caster v. Allen, Case No. 2:21-cv-

1536 (N.D. Ala.), ECF No. 101; Allen v. Milligan, 143 S. Ct 1487, 1502 (2023). On

July 10, 2023, the Alabama Democratic Conference (“ADC”) filed a motion to

intervene as a plaintiff in Milligan. Milligan Doc. 175. All parties oppose the motion.

Milligan Docs. 181,182. For the reasons stated below, the motion is DENIED.

   I.      BACKGROUND

        “In 2020, the decennial census revealed that Alabama’s population had grown

by 5.1%,” and “the Alabama Legislature’s Committee on Reapportionment began

creating a new districting map.” Allen, 143 S. Ct. at 1501. “The Alabama Legislature

enacted [a new] map [(“the Plan”)],” and Governor Ivey signed the Plan into law on

November 4, 2021. Id. at 1502.

        “Three groups of plaintiffs brought suit seeking to stop Alabama’s Secretary

of State from conducting congressional elections under” the Plan. Id. Those

plaintiffs include, among others, Alabama State Senator Bobby Singleton, Alabama

State Senator Rodger Smitherman, Greater Birmingham Ministries, and the

Alabama State Conference of the NAACP. Singleton, Case No. 2:21-cv-1291 (N.D.

Ala.); Milligan, Case No. 2:21-cv-1530 (N.D. Ala.); see also Caster, Case No. 2:21-

cv-1536 (N.D. Ala.) (listing individual plaintiffs who are Black citizens and

registered voters alleging impacts by the State drawn maps).
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       After a seven-day preliminary injunction hearing, the Court preliminarily

enjoined Alabama from using the Plan in the forthcoming elections, and the

defendants appealed to the Supreme Court.

      Because “redistricting and reapportioning legislative bodies is a legislative

task which the federal courts should make every effort not to pre-empt,” Wise v.

Lipscomb, 437 U.S. 535, 539 (1978) (opinion of White, J.), the Court gave the

Alabama Legislature the first opportunity to draw a new map. See Milligan Doc. 107

at 6. After it appeared increasingly unlikely that the Legislature would act, the Court

notified the parties of its intent to appoint a special master and cartographer. See,

e.g., Milligan Doc. 129. After affording the parties an opportunity to object, the

Court appointed a special master and cartographer on February 7, 2022. See Milligan

Doc. 130. Later that day, the Supreme Court stayed the preliminary injunction.

      On June 8, 2023, the Supreme Court affirmed the preliminary injunction in all

respects. See Allen, 143 S. Ct. at 1502. The Supreme Court then vacated the stay.

See Allen v. Caster, No. 21-1087, 2023 WL 3937600, at *1 (U.S. June 12, 2023);

Allen v. Milligan, No. 21-1086, 2023 WL 3937599, at *1 (U.S. June 12, 2023).

      The Court held a status conference on June 16, 2023 with the parties from all

three cases. Before the status conference, the defendants advised the Court that “the

Alabama Legislature intends to enact a new congressional redistricting plan that will




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repeal and replace the 2021 Plan” and requested that the Court allow the Legislature

until July 21, 2023, to enact the new plan. Milligan Doc. 166.

       After the status conference, in the light of the well-documented time-

sensitivity of this litigation, the Court directed the plaintiffs to file any objections to

any plan adopted by the Legislature by July 28, 2023; the defendants to file any

response by August 4, 2023; and the plaintiffs to file any reply by August 7, 2023.

Milligan Doc. 168 at ¶ 5. The Court ordered that it would set a hearing on any

objections for August 14, 2023. Id. at ¶ 7.

      On June 27, 2023, the Alabama Legislative Committee on Reapportionment

held its first public hearing to discuss potential new maps. “At that hearing,

representatives of the plaintiffs in these cases presented proposed remedial plans for

the Legislature’s consideration.” Milligan Doc. 175 at 4. “The ADC’s chair, Dr. Joe

L. Reed, presented a different plan.” Id. On July 10, 2023, the ADC filed a motion

to intervene as a plaintiff in Milligan for the limited purpose of participating in the

remedial proceedings. See generally Milligan Doc. 175.

      “The ADC is a political organization founded in 1960 to advance the interests

of Black Alabamians.” Id. at 2. The ADC asserts two grounds for intervention under

Federal Rule of Civil Procedure 24: (1) that it has a right to intervene under Federal

Rule of Civil Procedure 24(a)(2) because its motion is timely, its interests relate to

the subject of the action, and its interests will be impaired if it cannot intervene; and


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(2) that even if the Court disagrees about intervention as of right, the Court should

allow the ADC to intervene under Rule 24(b)(1) because the motion is timely and

the claims of the ADC have questions of law or fact in common with the claims of

the Milligan plaintiffs. Id. at 6-8.

   II.      LEGAL STANDARDS

         Federal law allows intervention either as of right or permissively. Federal

Rule of Civil Procedure 24(a)(2) provides that “on timely motion, the court must

permit anyone to intervene who . . . claims an interest relating to the property or

transaction that is the subject of the action, and is so situated that disposing of the

action may as a practical matter impair or impede the movant’s ability to protect its

interest, unless existing parties adequately represent that interest.” Fed. R. Civ. P.

24(a)(2).

         A party moving to intervene as of right must establish that (1) the motion to

intervene is timely; (2) the prospective intervenor “has an interest relating to the

property or transaction which is the subject of the action”; (3) the prospective

intervenor “is so situated that disposition of the action, as a practical matter, may

impede or impair [its] ability to protect that interest”; and (4) the prospective

intervenor’s “interest is represented inadequately by the existing parties to the suit.”

Chiles v. Thornburg, 865 F.2d 1197, 1213 (11th Cir. 1989) (citing Athens Lumber

Co. v. Fed. Election Comm’n, 690 F.2d 1364, 1366 (11th Cir. 1982)).


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      Federal Rule of Civil Procedure 24(b)(1) governs permissive intervention.

Rule 24(b) provides that “[o]n timely motion, the court may permit anyone to

intervene who . . . has a claim or defense that shares with the main action a common

question of law or fact.” Fed. R. Civ. P. 24(b)(1). The decision to allow permissive

intervention lies within the discretion of the district court. Athens Lumber, 690 F.2d

at 1367 (citing Brotherhood of Railroad Trainmen v. Balt. & Ohio R.R., 331 U.S.

519, 524 (1947)).

   III.     ANALYSIS

      The ADC argues that it satisfies the requirements for both intervention as of

right and permissive intervention. Milligan Doc. 175. All parties disagree. See

Milligan Docs. 181, 182.

      A. Intervention as of Right

      Because both kinds of intervention require a timely motion, the Court first

considers whether the ADC’s motion was timely. The ADC bears the burden of

proving timeliness. Chiles, 865 F.2d at 1213 (citing Athens Lumber, 690 F.2d at

1366).

      “In determining whether a motion to intervene was timely,” the Court

considers “(1) the length of time during which the proposed intervenor knew or

reasonably should have known of the interest in the case before moving to intervene;

(2) the extent of prejudice to the existing parties as a result of the proposed


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intervenor’s failure to move for intervention as soon as it knew or reasonably should

have known of its interest; (3) the extent of prejudice to the proposed intervenor if

the motion is denied; and (4) the existence of unusual circumstances militating either

for or against a determination that their motion was timely.” Georgia v. U.S. Army

Corps of Eng’rs, 302 F.3d 1242, 1259 (11th Cir. 2002) (citing Chiles, 865 F.2d at

1213).

      “The most important consideration in determining timeliness is whether any

existing party to the litigation will be harmed or prejudiced by the proposed

intervenor’s delay in moving to intervene.” Comm’r, Ala. Dept. of Corr. v. Advance

Loc. Media, LLC, 918 F.3d 1161, 1171 (11th Cir. 2019) (internal quotation marks

omitted) (quoting McDonald v. E.J. Lavino Co., 430 F.2d 1065, 1073 (5th Cir.

1970)).

      As for the first factor, the time lag between when the ADC knew of its interest

in the case and when it moved to intervene is significant. The Milligan lawsuit was

filed on November 16, 2021; the preliminary injunction hearing commenced on

January 4, 2022; this Court issued a preliminary injunction on January 24, 2022; and

the Supreme Court affirmed that order on June 8, 2023. Milligan Docs. 1, 107; Allen,

143 S. Ct. at 1502. The ADC did not move to intervene until July 10, 2023, more

than nineteen months after the lawsuit was filed and more than seventeen months

after the preliminary injunction issued.


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      The Supreme Court has found a motion to intervene untimely when the

movant waited until the lawsuit “was over three months old and had reached a

critical stage” before seeking to intervene. NAACP v. New York, 413 U.S. 345, 367

(1973). Similarly, the Eleventh Circuit held that a motion to intervene was untimely

when the movant “knew at an early stage in the proceedings that [its] rights could

be adversely affected . . . yet . . . failed to seek intervention” until much later. United

States v. Jefferson Cnty., 720 F.2d 1511, 1516 (11th Cir. 1983). And a three-judge

district court in this Circuit has denied as untimely an intervention attempt by voters

in the remedial stage of a voting rights action on remand from the Supreme Court.

See Ala. Legis. Black Caucus v. Alabama, Case No. 2:12-cv-691, 2017 WL 4563868,

at *3, 2017 U.S. Dist. LEXIS 168741, at *11-15 (M.D. Ala. Oct. 12, 2017).

       Under these precedents, the ADC’s lengthy delay in seeking to intervene

precludes a finding of timeliness. The preliminary injunction proceedings involved

more than forty lawyers, seven days of hearings, and a voluminous record, including

testimony from multiple expert witnesses. Although the ADC’s interests could have

been affected during that stage of these proceedings, the ADC did not then seek to

intervene. This litigation is now nearly two years old and is in a critical, time-

sensitive stage. The Court faces extreme time pressure to hold a hearing and issue

an appropriate order before the 2024 election deadlines. Secretary Allen has




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informed the Court that a congressional map must be in place by early October 2023

to be used in the 2024 elections. 1 Milligan Doc. 147 at 3.

       The ADC claims its “motion is timely because it comes just a few days after

the plaintiffs revealed their remedial proposals” at the public hearing of the Alabama

Legislature’s Committee on Reapportionment on June 27, 2023. Milligan Doc. 175

at 6. But the remedial proposals offered by the Milligan plaintiffs at that hearing are

based largely on maps included in this Court’s January 24, 2022, preliminary

injunction order and submitted by plaintiffs to the Court well before then. See, e.g.,

Milligan Docs. 68, 107. These maps were also identified by the Supreme Court as

acceptable illustrative remedies. See Allen, 143 S. Ct. at 1504.

       The ADC further downplays its delay and asserts that it did not understand

until recently “that the Legislature is unlikely to develop a new map that is consistent

with federal law,” Milligan Doc. 175 at 6, but that cannot be right: there has always

been a possibility that if the plaintiffs prevailed in this litigation, the Court would be

required to impose the remedy should the Legislature fail to do so.

       As for the second factor, the Court considers “whether any existing party to

the litigation will be harmed or prejudiced by the proposed intervenor’s delay in

moving to intervene.” Advance Loc. Media, 918 F.3d at 1171 (citing McDonald, 430



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  The Court passes no judgment as to the date presented by the Secretary of State, but rather notes
simply that this is the date he provided as a “deadline.”
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F.2d at 1073). Allowing the ADC to intervene now would prejudice the existing

parties. Although “mere inconvenience is not in itself a sufficient reason to reject as

untimely a motion to intervene as of right,” additional delay at this stage of this case

is not the same as additional delay in an ordinary case. McDonald, 430 F.2d at 1073.

As already discussed, this remedial process must move expeditiously, and disrupting

it to require the parties to prepare responsive pleadings, engage in motion practice

about the ADC’s proposed complaint, and coordinate with a new organizational

plaintiff at this late stage would be unduly disruptive and prejudicial. See Milligan

Doc. 175-1.

      Further, allowing the ADC to intervene to champion its proposed remedy

could open the floodgates for intervention by others with their own preferred

remedies, which would greatly prejudice the parties. The ADC’s interest is identical

to that of the Milligan plaintiffs—that is, the adoption of a lawful map. Indeed, a

comparison of the relief section in the Milligan plaintiffs’ complaint, Milligan Doc.

1, and in the ADC’s proposed complaint attached to its motion as an exhibit,

Milligan Doc. 175-1, is instructive. Both complaints seek the same core relief: a

declaration that the 2021 congressional redistricting plan violates Section Two of

the Voting Rights Act and is unconstitutional; an injunction preventing the Secretary

of State from using that map in any elections; and an order directing Alabama to

conduct elections using a map that does not violate the law. Thus, we can discern no


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compelling reason to incur the risk of disruption and prejudice. This result is

consistent with Eleventh Circuit precedent rejecting a proposed intervenor because

the “duplicative nature of the claims and interests they asserted threaten[ed] to

unduly delay the adjudication of the rights of the parties in the lawsuit and [made] it

unlikely that any new light [would] be shed on the issues to be adjudicated.” Chiles,

865 F.2d at 1215.

      As for the third factor—the prejudice to the ADC if intervention is not

allowed—there is no such prejudice. “Where the movant has [an] interest [that] is

identical with the party and consequently he is adequately represented,” there is “no

prejudice sufficient to give weight to the third factor.” Jefferson Cnty., 720 F.2d at

1517. Because the ADC’s interest is identical to the Milligan plaintiffs’ interest,

there will be no prejudice to the ADC if it is not allowed to intervene.

      The ADC argues that none of the existing plaintiffs adequately represent its

interests because “[n]one of the existing plaintiffs ha[ve] yet proposed a remedial

plan that is favored by the ADC” and “[t]he Singleton plaintiffs have even proposed

a remedial plan that results in zero majority-Black districts.” Milligan Doc. 175 at

7. But the ADC does not explain why its disagreement with the plaintiffs over the

preferred details of potential remedies necessarily forecloses those plaintiffs from

adequately representing the ADC’s interest in a lawful map.




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       On reply, the ADC further argues that the Supreme Court recently held that

this factor should “present[] proposed intervenors with only a minimal challenge,”

and that the interests of proposed intervenors are not adequately represented if “they

seek to give voice to a different perspective.” Milligan Doc. 185 at 8-9 (internal

quotation marks omitted) (citing Berger v. N.C. State Conf. of the NAACP, 142 S.

Ct. 2191, 2203-05 (2022)). But Berger does not compel intervention here. The ADC

is not in the same position as the legislative leaders in Berger who represented a

different branch of government with a different “primary objective” from the branch

already in the suit. Berger, 142 S. Ct. at 2206. 2 Here both the ADC and the existing

plaintiffs share a primary objective: a congressional redistricting map that complies

with Section Two of the Voting Rights Act.

       In any event, even if the ADC were to suffer any prejudice from denial of its

motion, that prejudice would be temporary because later process will cure it. Since

the ADC filed its motion, the Legislature has enacted a new congressional

redistricting plan. If that map is successfully challenged and circumstances call for

the special master to prepare a map, the ADC and other interested parties will have

an opportunity to submit proposed maps to the special master.




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  Notably, the legislators in the Singleton case timely filed a motion to intervene which was
granted. Singleton, Case No. 2:21-cv-1291, ECF 25, 32.
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       As for the fourth factor, the Court must determine if any “unusual

circumstances” exist that would militate either for or against a determination that the

motion was timely. Advance Loc. Media, 918 F.3d at 1171. The ADC does not

identify any unusual circumstances that would justify, let alone excuse, its tardy

decision to intervene. On the other side of the scale, unusual circumstances do exist

that require this litigation to proceed expeditiously to ensure the timely

implementation of a remedial plan. See supra at 8-10.

       For each and all of these reasons, the ADC’s motion is untimely, and its

argument for intervention as of right fails.

       B. Permissive Intervention

       The same timeliness problems that undercut the ADC’s request to intervene

as of right also undercut the ADC’s request for permissive intervention. Indeed, the

ADC’s untimeliness poses an even greater obstacle for its request for permissive

intervention because district courts generally apply a less lenient standard of

timeliness to a request for permissive intervention than to a request for intervention

as of right. Stallworth v. v. Monsanto Co., 558 F.2d 257, 266 (5th Cir. 1977).3

       Even if the ADC’s motion were timely, however, another factor weighs

against granting the ADC’s motion for permissive intervention: the potential for


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 In Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981) (en banc), the Eleventh
Circuit adopted as binding precedent all decisions of the former Fifth Circuit handed down before
October 1, 1981.
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undue delay if the ADC were permitted to join the action as a plaintiff. “[E]ven [if]

there is a common question of law or fact, or the requirements of Rule 24(b) are

otherwise satisfied, the court may refuse to allow intervention.” Worlds v. Dep’t of

Health & Rehab. Servs., Fla., 929 F.2d 591, 595 (11th Cir. 1991) (per curiam)

(internal quotation marks omitted) (quoting 7C Wright, Miller & Kane, Federal

Practice & Proc. § 1913 (2d ed. 1986)). When a court considers whether to exercise

its discretion to permit intervention, Rule 24(b) expressly requires the court to

“consider whether the intervention will unduly delay or prejudice the adjudication

of the original parties’ rights.” Fed. R. Civ. P. 24(b)(3). The potential for undue

delay is particularly acute in this case given the time-sensitive nature of the

plaintiffs’ claims and the expedited nature of the proceedings necessary to resolve

the remedial stage of this litigation.

      This exercise of the Court’s discretion is consistent with applicable precedent.

The Eleventh Circuit held that district courts should exercise their discretion to deny

permissive intervention when a plaintiff’s claims arose under a section of the Federal

Elections Campaigns Act “designed to expedite constitutional challenges to the

Act,” and “the introduction of additional parties inevitably [would] delay[]

proceedings.” Athens Lumber Co, 690 F.2d at 1367 (citing 2 U.S.C. § 437h)).

Similarly, the Milligan plaintiffs’ claims arise under a statutory scheme designed to

expedite certain challenges to congressional redistricting plans. See 28 U.S.C. §


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2284; Swift & Co. v. Wickham, 382 U.S. 111, 124 (1965) (“The purpose of the three-

judge scheme was in major part to expedite important litigation. . . .”).

      Because the ADC has been exceedingly untimely, its interests are the same as

the interests of the party plaintiffs, and its intervention now would cause substantial

disruption, delay, and prejudice at this critical juncture in the case, the ADC’s

request for permissive intervention fails.

   IV.    CONCLUSION

   For the foregoing reasons, the ADC’s motion to intervene is DENIED.

      DONE and ORDERED this 25th day of July, 2023.




                                     STANLEY MARCUS
                                     UNITED STATES CIRCUIT JUDGE




                                     _________________________________
                                     ANNA M. MANASCO
                                     UNITED STATES DISTRICT JUDGE




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